                                                   Case 3:23-cv-01320-AMO          Document 71-1   Filed 11/07/24   Page 1 of 2




                                               1   DEAN S. KRISTY (CSB No. 157646)
                                                   dkristy@fenwick.com
                                               2   FIONA Y. TANG (CSB No. 298101)
                                                   ftang@fenwick.com
                                               3   JUSTIN A. STACY (CSB No. 339376)
                                                   jstacy@fenwick.com
                                               4   FENWICK & WEST LLP
                                                   555 California Street, 12th Floor
                                               5   San Francisco, CA 94104
                                                   Telephone:     415.875.2300
                                               6   Facsimile:     415.281.1350

                                               7   FELIX S. LEE (CSB No. 197084)
                                                   flee@fenwick.com
                                               8   FENWICK & WEST LLP
                                                   801 California Street
                                               9   Mountain View, CA 94041
                                                   Telephone:     650.988.8500
                                              10   Facsimile:     650.938.5200

                                              11   Attorneys for Defendants
                                                   ANDY MACMILLAN and USERTESTING, INC.
                                              12
F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




                                              13
                                                                                  UNITED STATES DISTRICT COURT
                                              14
                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                              15

                                              16
                                                   BRENNA DICKERSON, Individually and on           Case No.: 3:23-cv-01320-AMO
                                              17   behalf of all others similarly situated,
                                                                                                   [PROPOSED] ORDER GRANTING
                                              18                     Plaintiff,                    DEFENDANTS’ MOTION TO DISMISS
                                                                                                   SECOND AMENDED CLASS ACTION
                                              19          v.                                       COMPLAINT

                                              20   ANDY MACMILLAN and USERTESTING,                 Date:       December 19, 2024
                                                   INC.,                                           Time:       2:00 p.m.
                                              21                                                   Courtroom: 10, 19th Floor
                                                                     Defendants.                   Judge:      Hon. Araceli Martínez-Olguín
                                              22                                                   Trial Date: None set

                                              23

                                              24

                                              25

                                              26

                                              27

                                              28
                                                   [PROPOSED] ORDER GRANTING DEFENDANTS’                            Case No.: 3:23-cv-01320-AMO
                                                   MOTION TO DISMISS SECOND AMENDED CLASS
                                                   ACTION COMPLAINT
                                                   Case 3:23-cv-01320-AMO            Document 71-1          Filed 11/07/24     Page 2 of 2




                                               1            The motion of defendants Andy MacMillan and UserTesting, Inc. (collectively

                                               2   “defendants”) to dismiss plaintiff’s Second Amended Class Action Complaint (the “SAC”) came

                                               3   regularly for hearing before the Court on December 19, 2024. The parties were represented by

                                               4   their respective counsel of record.

                                               5            After considering the papers submitted by the parties and the argument of counsel, the

                                               6   Court finds that plaintiff has not satisfied the requirements of Fed. R. Civ. P. 9(b) and 12(b)(6)

                                               7   and the Private Securities Litigation Reform Act of 1996 (“PSLRA”) and has not alleged facts

                                               8   sufficient to state a claim for violation of Sections 14(a) or 20(a) of the Securities Exchange Act

                                               9   of 1934. The Court holds that:

                                              10            1.     The forward-looking statements challenged in the SAC are not actionable because
                                                                   they are protected by the PSLRA’s safe harbor for forward-looking statements;
                                              11
                                                            2.     Plaintiff fails to allege with particularity that any challenged statements in the
                                              12
                                                                   proxy were false, misleading, or otherwise actionable;
F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




                                              13
                                                            3.     Plaintiff fails to plead particularized facts demonstrating the requisite culpability
                                              14                   or state of mind on the part of any defendant, regardless of whether the claim
                                                                   sounds in fraud or negligence; and
                                              15
                                                            4.     Plaintiff fails to allege loss causation with particularity as to any of the challenged
                                              16                   statements;
                                              17            5.     Plaintiff fails to state a claim for control person liability under Section 20(a).
                                              18
                                                            While leave to amend is liberally granted, this is not a case where such defects appear
                                              19
                                                   capable of being cured by more pleading, particularly since plaintiff has already amended her
                                              20
                                                   complaint and obtained documents pursuant to an inspection demand under 8 Del. C. § 220 prior
                                              21
                                                   to filing suit. Thus, it is HEREBY ORDERED that defendants’ motion to dismiss is GRANTED,
                                              22
                                                   and the SAC is DISMISSED WITH PREJUDICE.
                                              23

                                              24

                                              25
                                                   Dated:                                      , 2024
                                              26                                                                 Honorable Araceli Martínez-Olguín
                                              27

                                              28
                                                   [PROPOSED] ORDER GRANTING DEFENDANTS’                1                       Case No.: 3:23-cv-01320-AMO
                                                   MOTION TO DISMISS SECOND AMENDED CLASS
                                                   ACTION COMPLAINT
